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UNITED STATES BANKRUPTCY COURT                                        SOUTHERN DISTRICT OF TEXAS


                                         MOTION AND ORDER
                                     FOR ADMISSION PRO HAC VICE

          Division                HOUSTON                 Main Case Number            18-31274
          Debtor            In Re:                            iHeartMedia, Inc.

                                                                  New York
This lawyer, who is admitted to the State Bar of                                            :

                       Name                             Eli J. Vonnegut
                       Firm                             Davis Polk & Wardwell LLP
                       Street                           450 Lexington Avenue
                 City & Zip Code                        New York, NY 10017
                    Telephone                           212.450.4000
             Licensed: State & Number                   NY - 4610515


Seeks to appear as the attorney for this party:

                                               Citibank, N.A.


 Dated: June 6, 2018                      Signed: /s/ Eli J. Vonnegut




 COURT USE ONLY: The applicant’s state bar reports their status as:                              .



 Dated:                                   Signed:
                                                          Deputy Clerk



                                                     Order


                                     This lawyer is admitted pro hac vice.

Dated:
                                                           United States Bankruptcy Judge
